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UNZTED STATES DiSTRiCT COURT
V\/ESTERN D|STR|CT OF NEW YORK

 

PA|\/|ELA S. S|\/|ALL,

Piaintiff,
v. VERD|CT FORM
' 12-CV-12368

THE STATE NEW YORK, et ai.,

Defendants.

 

 

We, the Jury, return the foiiowing verdict in Pameia S. Sma|l v. The State of Nevv

York et ai., Docket No. 12-CV-12368.

 

VERD|CT OF THE JURY
Having been instructed on the iaW applicable to this case, you are now required to
return a unanimous verdict Foiiow the directions on this form careful|y. Your answers to
the questions must be unanimous Any findings you make must be based on a

preponderance of the evidence

Proceed to the Next Page

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First and Second C|aims:
Title Vll of the Civil Rights Act of 1964
Hosti|e Work Environment/Sexual Harassment and Retaliation

First Claim
Hostile Work Environment!Sexual Harassment

Liabi|it

Question'l. Did Plaintif‘f Pamela Smal| prove, by a preponderance of the
evidence, that New Yorl< State Department ot Corrections and
Community Supervision (DOCCS) subjected her to a hostile work
environment/sexual harassment in violation of Tit|e Vll of the Civi|
Rights Act of 1964?

[]NO

 

lf you answered “Yes,” proceed to Question 2 on the next page.

lf you answered “No,” proceed to Question 3 on page 4. Do _rp_t
answer Question 2.

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First Claim
Hostile Work EnvironmentlSexual Harassment

Affirmative Defense

Question 2. Did Defendant New York State Department of Corrections and
Community Supervision (DOCCS) prove, by a preponderance of the
evidence, that it exercised reasonable care to prevent and promptly
correct any discriminatory behavior directed against Plaintiff Pamela
Small and that Plaintiff Pamela Small unreasonably failed to take
advantage of preventive or corrective opportunities provided by
Defendant New York State Department of Corrections and
Community Supervislon (DOCCS) or that she otherwise failed to

avoid harm?

[]Yes 9(]No

Proceed to the next page.

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Question 3.

Second Claim
Retaliation

Liability

Did Plaintiff Pame|a Smal| prove, by a preponderance of the
evidence, that the New York State Department of Corrections and
Community Supervision (DGCCS) subjected her to retaliation in
violation of Title Vll of the Civil Rights Act of 1964?

%Yes [ ]No

Proceed to the next page.

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First and Second C|aims:
Title Vll of the Civil Rights Act of 1964
Hostile Work Environment/Sexual Harassment and Retaliation

Damages

Answer Question 4 only if (1) you answered “yes” to
Question 1 _a_r_\_d_ “no” to Question 2, Q_r (2) you answered
“yes” to Question 3.

Question 4. What amount of compensatory damages, if any, do you find that
Plaintiff Pame|a Small should be awarded for Defendant New York
State Department of Corrections and Community Supervision’s
(DOCCS) violation other Title Vll rights?

(Note: |f you find that Plaintiff Pame|a Small has not proven
any compensatory damages, you must enter “$1.00 -
Nomina|” on the line below.)

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Proceed to the next page.

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Question 5.

Third Claim
42 U.S.C. § 1983
Hostile Work Environment
Defendant Car| Cuer

Liabilit

Did Plaintiff Pame|a Small prove, by a preponderance of the
evidence, that Defendant Car| Cuer deprived her of her federally
protected right to be free from a hostile work environment, in violation
of 42 U.S.C. § 1983?

D“<:|Yes []No

lf you answered “Yes,” proceed to Question 6 on the next page.

|f you answered “No,” proceed to Question 9 on page 9. Do n_o_t
answer Questions 6, 7, and 8.

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Question 6.

Affirmative Defense

Did Defendant Carl Cuer prove, by a preponderance ofthe evidence,
that he is entitled to qualified immunity because he neither knew nor
should have known that his actions deprived P|aintiff Pamela Small
of her federally protected right to be free from a hostile work

environment?

rives %1~0

|f you answered “Yes,” proceed to Question 9 on page 9. Do gc_)t
answer Questions 7 and 8.

lf you answered “No,” proceed to Question 7 on the next page.

Proceed to the next page.

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Question 7.

Question 8.

Damages

What amount of compensatory damages, if any, do you find that
P|aintiff Pame|a Small should be awarded for Defendant Carl Cuer’s
deprivation of her federally protected right to be free from a hostile

work environment?

(Note: |f you find that P|aintlff Pamela Small has not proven
any compensatory damages, you must enter “$1.00 --
Nominal” on the line below.)

 

What amount of punitive damages, if any, do you find that Plaintiff
Pamela Small should be awarded for Defendant Carl Cuer’s
deprivation of her federally protected right to be free from a hostile

work environment?

(Note: You w complete the line below. |f you find that
Plaintiff Pamela Small is not entitled to punitive damages,
enter “none”. lf you find that she is entitled to punitive
damages, enter the dollar figure.)

$ §0,0CO

Proceed to the next page.

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Third Claim
42 U.S.C. § 1983
Hostile Work Environment
Defendant Sandra Do|ce

Liability

Question 9. Did Plaintiff Pame|a Small prove, by a preponderance of the
evidence, that Defendant Sandra Dolce deprived her of her federally
protected right to be free from a hostile work environment, in violation
of 42 U.S.C. § 1983?

[)dYes []No

|f you answered “Yes,” proceed to Question 10 on the next page.

lf you answered “No,” proceed to Question 13 on page 12. Do _n_o_t
answer Questions 10, 11, and 12.

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Question 10.

Affirmative Defense

Did Defendant Sandra Dolce prove, by a preponderance of the
evidence, that she is entitled to qualified immunity because she
neither knew nor should have known that her actions deprived
P|aintiff Pamela Small of her federally protected right to be free from

a hostile work environment?

[ ] YeS Wo

lf you answered “Yes,” proceed to Question 13 on page 12. Do n_o_t
answer Questions 11 and 12.

lf you answered “No,” proceed to Question 11 on the next page.

Proceed to the next page.

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Question 11 .

Question 12.

Damages

What amount of compensatory damages, if any, do you find that
Plaintiff Pamela Small should be awarded for Defendant Sandra
Dolce’s deprivation of her federally protected right to be free from a

hostile work environment?

(Note: lf you find that Plaintiff Pame|a Small has not proven
any compensatory damages, you must enter “$1.00 ~
Nominal” on the line below.)

$M

What amount of punitive damages, if any, do you find that Plaintiff
Pamela Small should be awarded for Defendant Sandra Do|ce’s
deprivation of her federally protected right to be free from a hostile

work environment?

(Note: You r_n_u_s_t complete the line below. lf you find that
Plaintiff Pamela Small is not entitled to punitive damages,
enter “none”. lf you find that she is entitled to punitive
damages, enter the dollar figure.)

$ \\XONE

 

Proceed to the next page.

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Third Claim
42 U.S.C. § 1983
Hostile Work Environment
Defendant James Conway

Liability

Question13. Did Plaintiff Pamela Small prove, by a preponderance of the
evidence, that Defendant James Conway deprived her of her
federally protected right to be free from a hostile work environment,
in violation of 42 U.S.C. § 1983?

/[)€Yes [ ] No

lf you answered “Yes,” proceed to Question 14 on the next page.

lf you answered “No,” proceed to Question 17 on page 15. Do gg_t
answer Questions 14, 15, and 16.

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Question 14.

Affirmative Defense

Did Defendant James Conway prove, by a preponderance of the
evidence, that he is entitled to qualified immunity because he neither
knew nor should have known that his actions deprived P|aintiff
Pame|a Small of her federally protected right to be free from a hostile

work environment?

t ives ;><{No

|f you answered “Yes,” proceed to Question 17 on page 15. Do _nQ_t
answer Questions 15 and 16.

lf you answered “No,” proceed to Question 15 on the next page.

Proceed to the next page.

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Question 15.

Question 16.

Dama_qes

What amount of compensatory damages, if any, do you find that
Plaintiff Pamela Small should be awarded for Defendant James
Conway’s deprivation of her federally protected right to be free from

a hostile work environment?

(Note: l'f you find that Plaintiff Pamela Small has not proven
any compensatory damages, you must enter “$1.00 -
Nominal” on the line belowl)

$ ZLl Q.®®

V\/hat amount of punitive damages, if any, do you find that P|aintiff
Pamela Small should be awarded for Defendant James Conway’s
deprivation of her federally protected right to be free from a hostile

work environment?

(Note: You must complete the line below. lf you find that
Plaintiff Pame|a Small is not entitled to punitive damages,
enter “none”. lf you find that she is entitled to punitive
damages, enter the dollar figure.)

$ NC>NE

 

Proceed to the next page.

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Fourth Claim
New York Human Rights Law § 296 (6)
Aiding and Abetting Unlawful Discrimination and Hostile Work Environment
Defendant Carl Cuer

Answer Question 17 only if you answered “yes” to
Question 1 or Question 3.
|f you did p_o_jc_ answer “yes” to either Question 1 or

Question 3, proceed to page 17 and do not answer
Questions 17, 18 and 19.

HMT_¥

Question17. Did Plaintiff Pamela Small prove, by a preponderance of the
evidence, that Defendant Carl Cuer aided and abetted unlawful

discrimination and hostile work environment, in violation of the New
York Human Rights Law § 296 (6)?

[%YGS [ ] NQ

lf you answered “Yes,” proceed to Question 18 on the next page.

lf you answered “No,” proceed to page 17. Do @_t answer Question
18.

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Question 18.

Question 19.

Damages

What amount of compensatory damages, if any, do you find that
P|aintiff Pamela Small should be awarded for Defendant Carl Cuer’s
aiding and abetting unlawful discrimination and hostile work
environment, in violation of the New York Human Rights l_aw § 296
(6)?

(Note: lf you find that P|aintiff Pamela Small has not proven
any compensatory damages, you must enter “$1.00 -
Nominal” on the line below.)

$ (OQ:O.UZ®

What amount of lost pay, if any, do you find that Plaintiff Pame|a
Small should be awarded for Defendant Carl Cuer’s aiding and
abetting unlawful discrimination and hostile Work environment, in
violation of the New York Human Rights l_aw § 296 (6)?

Loss of Back Pay $ 3`-10| m
Loss of Front Pay $ ll&®; m

 

 

Proceed to the next page.

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Stop. This is the end of the verdict form. The foreperson must sign below and notify
the Court, in writing, that the jury has reached a verdict.

l certify the above verdict to be true and accurate.

Dated: September’l-q ,2018
Buffalo, NY

REDACTED
JURY FOREPERSON

[PLEASE REl\/lEl\/IBER THAT YOUR VERD|CT l\/lUST BE UNANll\/lOUS.]

 

Now that you have completed the verdict sheet, place it in the envelope provided and
seal the envelope. |nform the Court by a written note that you have reached a verdict.
Do not disclose the verdict to the Court or anyone else until you are asked to do so by

the Judge in open Court.

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